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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION
                                   AT COVINGTON


CRIMINAL ACTION NO. 08-49-DLB

UNITED STATES OF AMERICA                                                           PLAINTIFF


v.                         REPORT AND RECOMMENDATION


WILLIE STOKES                                                                    DEFENDANT

                                        **********


       On April 13, 2015, this matter came before the Court for a Final Revocation Hearing on the

U.S. Probation Office’s Report that Defendant Willie Stokes had violated conditions of his

supervised release. Defendant was present in Court and represented by Kerry L. Neff, and the

United States was represented by Assistant United States Attorney Elaine Leonhard.           The

proceeding was electronically recorded and is contained in the Court’s audio file at KYED-COV_2-

08-cr-49-DLB-CJS–008-20150413-144420; the official recording of this proceeding was certified

by Linda Tierney, Deputy Clerk.

I.     Background

       On December 10, 2009, Defendant pleaded guilty to one count of conspiracy to distribute

over 5 grams of cocaine base and one forfeiture count. (R. 228). On March 19, 2010, the presiding

District Judge sentenced Defendant to a total term of imprisonment of 60 months with an 8-year

term of supervised release to follow. (R. 259, 262). On December 19, 2013, Defendant was

released to begin his 8-year term of supervised release. (R. 429).
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       On July 7, 2014, Defendant reported to the Probation Office for a drug test and his urine

specimen tested positive for marijuana. Defendant admitted to the Probation Officer to using

marijuana at a family function. The Probation Officer reported the violation to the presiding District

Judge, who adopted the Probation Officer’s recommendation of referring Defendant for counseling.

(R. 408).

       On December 3, 2014, Defendant reported to the Probation Office as required, and was

informed that a urine specimen would be collected for drug testing. Defendant admitted to a new

use, but prior to collection of the specimen, he passed out and was taken to the hospital. The

Probation Office later obtained the results of a drug test performed at the hospital that revealed a

positive result for marijuana. On December 23, 2014, Defendant’s urine sample again tested

positive for marijuana, but the Probation Office was unable to determine if the results of this test

were from a new use. The Probation Officer notified the presiding District Judge of Defendant’s

two positive drug tests, recommending that Defendant continue in substance abuse counseling but

asking that a condition be added for Defendant to receive mental health treatment. (R. 413). The

Probation Officer explained she was recommending that a mental health treatment condition be

added because Defendant’s substance abuse therapist indicated Defendant was in need of mental

health treatment to assist him with depression, anxiety, and grief. (Id.). The presiding District Judge

then modified his conditions to include mental health treatment. (Id.).

       Defendant now stands before the Court charged with the following violations:

       Violation # 1:          The Defendant shall not purchase, possess, use, distribute, or
                               administer any controlled substance or any paraphernalia
                               related to any controlled substances, except as prescribed by
                               a physician. (Grade C violation).




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       On March 10, 2015, Defendant reported to the Probation Office and provided a urine

specimen for drug testing, but the specimen appeared adulterated. Defendant ultimately admitted

to the Probation Officer to using marijuana on March 7, 2015, stating that he used marijuana with

individuals who gave him a ride home from work. Defendant signed an admission report.

Defendant reported as instructed the following day to provide another urine specimen, which tested

positive for marijuana.

       Violation # 2:          The Defendant shall not commit another federal, state or local
                               crime and shall not illegally possess a controlled substance.
                               (Grade B violation).

       Defendant admitted to using marijuana on March 7, 2015. Under Sixth Circuit precedent,

use is equivalent to possession and therefore under the circumstances considered a violation of

federal law, 21 U.S.C. § 844(a).

       At the final hearing on these charged violations, defense counsel informed the Court that

Defendant was prepared to admit to the charges and proceed with a discussion of an appropriate

sentence. Prior to taking his plea, the undersigned explained to Defendant the statutory maximum

term of incarceration and supervised release as well as the sentencing options available to the Court.

The undersigned also informed Defendant that the presiding District Judge imposing the final

sentence was not obligated to impose the sentence recommended by the undersigned. Defendant

acknowledged his understanding and stated he was prepared to admit to the violations. Accordingly,

after being placed under oath, Defendant admitted and entered a guilty plea to the violations of his

supervised release as set out in the March 17, 2015, Supervised Release Violation Report of the U.S.

Probation Officer. Defendant did not waive his right to allocution.




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       The undersigned is satisfied from the dialogue with Defendant that he understands the nature

of the pending charges, has had ample opportunity to consult with counsel, understands that no

promises have been made to him about any final sentence to be imposed in exchange for his

admissions regarding the charges, and that he enters his guilty plea knowingly and voluntarily.

Therefore, based on Defendant’s plea of guilty to the allegations, the undersigned finds and will

recommend that the District Court find that Defendant has violated the conditions of his supervised

release as charged. This, then, takes us to the issue of sentencing.

II.    Sentencing

       A.      Legal standard and sentencing guidelines

       The Court may revoke a term of supervised release after finding that a defendant has violated

a condition of supervised release. See 18 U.S.C. § 3583(e)(3). The Court must revoke a defendant’s

supervised release where the defendant is found to have possessed a controlled substance, see 18

U.S.C. § 3583(g), or upon a finding of a Grade A or B violation, see U.S.S.G. § 7B1.3(a)(1).

Application Note 6 to Section 7B1.4 of the Guidelines, however, provides that a court can consider

in the case of a defendant with a failed drug test whether the availability of appropriate substance

abuse programs warrants an exception from the requirement of mandatory revocation and

imprisonment. See U.S.S.G. § 7B1.4, app. note 6 (citing 18 U.S.C. §§ 3563(a), 3583(d)).

       The Court is also mindful of the need to impose a sentence that is sufficient, but not greater

than necessary, to comply with the purposes set forth in 18 U.S.C. § 3553(a). See id. § 3583(e).

Accordingly, in making a determination of an appropriate sentence, the sentencing court is to

consider:

       1.      The nature and circumstance of the offense and the history and characteristics
               of the Defendant, see 18 U.S.C. § 3553(a)(1);

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       2.       The need for the sentence imposed to afford adequate deterrence to criminal
                conduct, see 18 U.S.C. § 3553(a)(2)(B); to protect the public from further
                crimes of the Defendant, see 18 U.S.C. § 3553(a)(2)(C); and to provide the
                Defendant with needed educational or vocational training, medical care, or
                other corrective treatment in the most effective manner, see 18 U.S.C.
                § 3553(a)(2)(D);

       3.       The kinds of sentence and the applicable sentencing range established in the
                United States Sentencing Commission’s Sentencing Guidelines, any
                amendments thereto, and any associated policy statements made by act of
                Congress or issued by the Sentencing Commission and in effect on the date
                the Defendant is sentenced, for a violation of a term of supervised release,
                see 18 U.S.C. § 3553(a)(4),(5);

       4.       The need to avoid unwarranted sentence disparities among defendants with
                similar records who have been found guilty of similar conduct, see 18 U.S.C.
                § 3553(a)(6); and,

       5.       The need to provide restitution to any victims of the offense, see 18 U.S.C.
                § 3553(a)(7).

18 U.S.C. §§ 3583(e) and 3553(a); see also United States v. Williams, 333 F. App’x 63, 69 (6th Cir.

2009). In determining an appropriate sentence, the applicable policy statements in the Sentencing

Guidelines, see United States Sentencing Guidelines (U.S.S.G.) Chapter 7, Part B, and the factors

set out in 18 U.S.C. § 3553(a) must be considered. The undersigned has carefully considered the

factors listed in 18 U.S.C. §§ 3583(e) and 3553(a).

       Here, considering that Defendant’s underlying criminal offense is a Class A felony, the

maximum term of incarceration upon revocation of supervised release is five years. See 18 U.S.C.

§ 3583(e)(3).    Section 7B1.4 of the Sentencing Guidelines suggests a revocation range of

imprisonment of 21 to 27 months, based upon Defendant’s criminal history category of VI and the

most serious violation as admitted by him being that of a Grade B. Defendant may also be placed

back on supervised release following any term of imprisonment that is imposed upon revocation.

Here, the maximum term of further supervised release under the statute would be life because the

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term of supervised release authorized by statute for the offense that resulted in the original term of

supervised release provides no maximum period of time that a defendant can be placed on

supervised release. See 18 U.S.C. § 3583(h); 21 U.S.C. § 841(b)(1)(B).

       B.      Summary of arguments of counsel regarding sentencing

       In discussing an appropriate sentence, defense counsel acknowledged that revocation is

mandatory, but noted the Court has the authority to sentence Defendant to a treatment program in

lieu of incarceration. See 18 U.S.C. § 3583(d) and U.S.S.G. § 7B1.4 app. note 6. Defense counsel

pointed out that Defendant’s violations all occurred after his mother’s death and that prior to her

death Defendant was compliant with his conditions. Further, other than his marijuana usage,

Defendant has continued to be compliant with the other conditions of his release. Defense counsel

stated that an inpatient treatment program would best benefit Defendant and society. Counsel asked

that if the Court is not inclined to order treatment in lieu of incarceration, that the term of

incarceration be the minimal term necessary under the statute. Defense counsel further asked that

if the Court decides to impose a term of incarceration, that it impose minimal, if any, supervision

to follow.1

       Defendant also allocuted before the undersigned, stating he understands the seriousness of

his marijuana addiction, and he wants to get treatment. Defendant stated that he makes no excuses

for his behavior, it was the “dumbest” thing to do, and he asked the Court to put him in treatment.

       The United States acknowledged that the Court has discretion to sentence Defendant as he

is requesting and accepted defense counsel’s representation that the timing of Defendant’s first


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         Counsel explained that while he did not know whether the Court has discretion under the
circumstances to not impose a term of supervised release, he was making the alternative request for no
supervision in the event the Court has such discretion.

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violation coincided with his mother’s death, but argued this case is not appropriate for a below

Guidelines sentence and certainly not treatment only. The United States noted that it was concerned

with the number of violations Defendant has committed in the short time he has been on supervision.

The United States also noted that the violations are all for the same type of conduct–marijuana

use–which evidences Defendant is not taking advantage of the resources being offered him for

substance abuse treatment. Further, the Government stated that Defendant has a significant criminal

history that also involved drug crimes. For these reasons, the United States asked the Court to

impose a sentence of incarceration, and advocates that the low end of the Guidelines would be

appropriate. The United States also stated it believes a term of supervision with substance abuse

treatment would appear appropriate, but deferred to the Probation Office as to whether they believe

Defendant can benefit from the imposition of an additional term of supervised release.

       Lastly, upon inquiry by the Court, United States Probation Officer Suter explained the

treatment afforded Defendant thus far. After Defendant’s first positive drug test, she referred him

for substance abuse treatment. The treatment provider notified the Probation Officer that he

believed Defendant’s issues were outside of his realm and recommended that Defendant be seen by

a mental health specialist. The Probation Officer referred Defendant for dual diagnosis treatment

to include substance abuse and mental health treatment. After the last positive drug test, the

Probation Officer referred Defendant for intensive group substance abuse counseling in addition to

his individual dual diagnosis treatment. The treatment provider recently reported that Defendant has

been engaged in treatment and was doing everything he should in his counseling sessions. The

provider reported he believes Defendant is trying to take advantage of this opportunity. Probation




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Officer Suter also testified that she thinks Defendant would benefit from further supervision and

recommends that a term of supervised release be imposed.

III.   Analysis and Recommendation

       Upon consideration, the undersigned recommends that Defendant’s supervised release be

revoked and that he be sentenced to a 14-month term of incarceration with a term of supervised

release to follow that would expire December 18, 2021, the supervision originally set by the Court

at sentencing. Under 18 U.S.C. § 3583(g) and § 7B1.3(a)(1) of the Sentencing Guidelines,

Defendant’s supervised release must be revoked in light of his possession of a controlled substance

and admission to a Grade B violation. Although the Court can consider whether the availability of

appropriate substance abuse programs warrants an exception from the requirement of mandatory

revocation in the case of a defendant with a failed drug test, see 18 U.S.C. § 3583(d); U.S.S.G.

§ 7B1.4 app. note 6, such substitution is not warranted here. However, while treatment in lieu of

incarceration is not appropriate here, the Court also finds that the advisory Guidelines range of 21

to 27 months is likewise not appropriate and is instead recommending a period of incarceration

below the advisory Guidelines range. See United States v. Perez-Arellano, 212 F. App’x 436, 438

(6th Cir. 2007) (“Although the policy statements found in Chapter Seven of the United States

Sentencing Guidelines recommend ranges of imprisonment, U.S.S.G. § 7B1.4, such statements ‘are

merely advisory’ and need only be considered by the district court before sentence is imposed.”)

(quoting United States v. McClellan, 164 F.3d 308, 310 (6th Cir. 1999)).

       Here, the Court is mindful that while Defendant stands before it for two violations, both stem

from the same circumstance, his admitted use to marijuana. But for the violation charging

Defendant with committing another federal or state crime as a result of his admitted use, a Grade


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B violation, he would be looking at a Guideline range of 8 to 14 months for his Grade C violation.

Thus, Defendant’s criminal history category of VI, coupled with the added consequence of his

behavior resulting in a Grade B violation also being charged, increases the advisory Guidelines

range for sanctioning his failure to abide by conditions of supervision to, in this instance, the point

of being excessive for the behavior charged.

        A 14-month term of incarceration is more appropriate under the sentencing considerations.

Specifically, upon Defendant’s release from prison, he made positive strides in turning his life

around: he obtained a job, was reconnecting with his children, and was benefitting from the guidance

of his Probation Officer. However, Defendant’s mother died and he experienced the added traumatic

circumstance of finding her. In his grief, he resorted back to his marijuana addiction. Defendant

has not had any other violations of his conditions other than those stemming from his admitted

marijuana addiction and all violations occurred after his mother’s death.2

        In addition, Defendant has only had the benefit of the condition imposing dual diagnosis

counseling to include both substance abuse and mental health treatment since December 29, 2014,

and did not begin his intensive group counseling until March 2015. Probation Officer Suter’s

comments indicate that Defendant is compliant with treatment and appears to be trying to conquer

his addiction. This is also a nonviolent offense. The Court does not diminish the seriousness of

Defendant’s use of an illegal substance, and it appears neither does Defendant, given his statements

that he now understands the need to view and treat an addiction to marijuana as seriously as an

addiction to any other controlled substance.




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           The Probation Officer noted that Defendant had recently lost his job as a result of his positive drug
test, but that he reported this fact to the Probation Office.

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       However, the inpatient treatment rather than incarceration that Defendant advocates for is

not appropriate here. The Court cannot ignore Defendant’s repeated refusal to take advantage of the

breaks afforded him and to abide by the conditions of his release. After his first violation, the

presiding District Judge provided Defendant with an opportunity to avoid incarceration by imposing

a condition of substance abuse treatment. The presiding District Judge later added a condition for

mental health treatment to assist Defendant in his grief and depression. While his dual treatment

was short in duration, the Court cannot ignore that during this treatment period, Defendant was

found to have violated the Court’s trust and again tested positive to marijuana. Further, the Court

does not take lightly the fact that on March 10, 2015, it appeared Defendant submitted an adulterated

specimen to his Probation Officer for testing. The Probation Office is here to assist Defendant and

its efforts are curtailed by such conduct. Thus, Defendant has refused to incorporate the lessons

learned from his prior violations and is charged with similar behavior that evidences at least some

reluctance to participate fully in his treatment.

       Sanctioning a defendant’s breach of trust is a fundamental principle underlying sentencing

for supervised release violations. See United States v. Branch, No. 09-1996, 2010 WL 5423743, at

*3 (6th Cir. Dec. 28, 2010) (citing U.S.S.G. ch. 7, pt. A, introductory cmt. 3(b)). A term of

imprisonment is required here to impress upon Defendant the seriousness of his conduct in refusing

to comply with the terms of his supervised release. But as explained above, a sentence that is below

the range described by the applicable Guidelines and Policy Statements is sufficient to reflect the

seriousness of this violation, the gravity of the breach of the Court’s trust, the need to protect the

public, and the need to deter criminal conduct and provide necessary treatment. See 18 U.S.C.

§ 3583(e).



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       The Court must also consider the need to avoid unwarranted disparities in sentencing among

similarly situated defendants. A term of 14 months of imprisonment represents a 7-month deviation

from the low end of Defendant’s Guideline range. In recommending such a deviation, the Court has

considered the § 3553(a) factors imported into the 3583(e) analysis. Personal circumstances

involving the death of his mother led to his relapse in his fight against his addiction and breaching

the Court’s trust. A 14-month term of imprisonment, coupled with successful completion of a

substance abuse program upon release from prison as directed by the Probation Office, is appropriate

to meet the goals of sentencing here. Thus, a sentence of 14 months of imprisonment will be

recommended as it is sufficient, but not greater than necessary, to comply with the purposes set forth

in 18 U.S.C. § 3553(a).

       A court also may reimpose supervised release following revocation, for a maximum period

that usually subtracts any term of imprisonment actually imposed due to the violation. See 18

U.S.C. § 3583(b) & (h). The maximum term of supervision the Court can impose post-revocation

depends on the “term of supervised release authorized by statute for the offense that resulted in the

original term of supervised release.” See 18 U.S.C. § 3583(h). The general supervision term limits

of § 3583(b) apply “[e]xcept as otherwise provided.” See id. § 3583(b). Here, the maximum term

of supervised release would be life. See 21 U.S.C. § 841(b)(1)(B) (providing for no maximum term

for supervised release for the underlying offense). Based upon the facts described above, a period

of supervised release that permits Defendant to complete what the presiding District Judge originally

intended for him–an eight-year term of supervision set to expire on December 18, 2021–will provide

Defendant the opportunity to obtain assistance to successfully transition back into society. Johnson

v. United States, 529 U.S. 694, 708-09 (2000) (“The congressional policy in providing for a term

of supervised release after incarceration is to improve the odds of a successful transition from the

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prison to liberty.”); United States v. Sizemore, No. 6:03-18, 2015 WL 417879, at *5 (E.D. Ky. Jan.

30, 2015) (reimposing supervised release to expire as originally set). Accordingly, the undersigned

will recommend that following Defendant’s 14-month term of incarceration he be returned to the

originally imposed term of supervision with the same conditions as currently imposed plus the

additional condition that he be placed in an inpatient treatment program immediately upon his

release from imprisonment.

IV.    Conclusion and Recommendations

       In conclusion, after a thorough review of Defendant’s Presentence Investigation Report, the

factual circumstances of the violations, and the case record, IT IS RECOMMENDED that:

       1.      Defendant, WILLIE STOKES, be found to have VIOLATED the terms of his

supervised release as set out in the March 17, 2015, Supervised Release Violation Report;

       2.      Defendant’s supervised release be REVOKED;

       3.      Defendant be sentenced to the custody of the Attorney General for a term of

FOURTEEN (14) MONTHS imprisonment, credit to be given for time served since his

detention on the charged violations, with a term of supervised release to follow, terminating on

December 18, 2021, under the same conditions as previous imposed, including substance abuse and

mental health treatment; and the additional condition that Defendant be placed in an inpatient

treatment program as directed by the Probation Office to begin immediately upon Defendant’s

release from imprisonment; and,

       4.      Defendant having preserved his right to allocute, the Court set the matter for an

allocution hearing unless Defendant notifies the Court in writing within fourteen (14) days of this




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Report and Recommendation that he wishes to waive allocution to the District Court prior to

sentencing.

         Specific objections to this Report and Recommendation must be filed within fourteen (14)

days of the date of service or further appeal is waived. 28 U.S.C. § 636(b)(1)(C); Fed. R. Crim. P.

59(b)(2); Thomas v. Arn, 728 F.2d 813, 815 (6th Cir. 1984), aff’d, 474 U.S. 140 (1985); U.S. v.

Walters, 638 F.2d 947 (6th Cir. 1981).

         Dated this 13th day of May, 2015.




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